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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TEXAS
LUFKIN DIVISION
Administrative Division: Attn. RON CLARK D/B/A Chief Judge

U
Lewis-Jay:Porter 01865394 SAg TER DIS Ml & D
C/O Lynaugh Unit - Olg ree. Coy
1098 South Highway 2037 May TOR ne,
Ft. Stockton, Texas “8 20 XA
‘ &y (Tf
[79735] LEp
Ury

in Propria Personam

  

-VS- Cause No: ;
Gines?s ec/ Ke

STATE OF TEXAS

D/B/A Carrie Gilcrease

101 West Main Street Ste. 250
Nacogdoches, Texas [75961]

28 USC 1331
48 CFR CH.1, 53, 228
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SPECIAL NOTICE TO THE COURT

Lewis-Jay:Porter©, Sui Juris, is now giving FULL NOTICE OF DISCLOSURE as to my formal
request to the United States District Court. Eastern District of Texas, Lufkin Division, MY
“SPECIAL VISITATION’ made by absolute ministerial right to the UNITED STATES
FEDERAL Court pursuant to Rule 8(F) of the Rules of Practice and Procedure as a “Restricted
Appearance.”

Comes Now, the detendant Lewis-Jay:Porter, State recorded case of County of Nacogdoches, a
real flesh and blood man/woman, a State Citizen and Inhabitant of the County of Nacogdoches,
Texas, by SPECIAL VISITATION In Propria Personam, not general to present this, his Notice
and Demand for written proof (verified and demonstrated evidence) of jurisdiction over His
Proper Person and over the subject matier in the entitled cause as known as F1118957.

Such Written proof must be filed in the official Court Record for this cause, and it must also be
properly served on the Accused at the lawful mailing location shown at the upper-left-hand
corner of this Notice and Demand for Proof of Jurisdiction, in order to be valid and acceptable.
The Accused explicitly reserves his fundamental Right to rebut and and all allegations stated in
the required written proof of jurisdiction.

Such written proof shall be accompanied by a sworn affidavit signed under penalty of perjury in
accordance to the LAWS of the united States of America and the State of Texas to be true.
correct, complete and first-hand knowledge. Said affidavit is to be sealed by the individuals
Christian name signature. knowingly, willingly and intelligently.

“The law requires proof of jurisdiction to appear on the record of the administrative agency and
all administrative proceedings” ([lagan v. Lavine, 415 US 533). “Theretore, it is necessary that
the record present the fact that establishing the jurisdiction of the tribunal” (Lowe V. Alexander.
15 C296, People v. Board of S.F. Fire Dept. 14 C 479). As the LAW requires such proof to
appear on the official record this Citizen of the State of Texas Demands the State of Texas and
its Agencies/Agents to produce lawful and legal proof (verified and demonstrated evidence) to
its alleged jurisdiction over this Private Citizen, Lewis-Jay:Porter ©, Sui Juris.

Where jurisdiction is denied and squarely challenged, jurisdiction cannot be assumed to exist
~Sub silentio,” but, must be proven, Hagan V. Lavine. 415 US 528, 533 n.5; Monell v. NY., 436
US 633. Mere “good faith” assertions of power and authority Gurisdiction) have been abolished,
Owen v. Indiana, 445 US 622; Butz v. Economou, 438 US 478; Bivens v. 6 Unknown Agents,
403 US 388. “A court cannot confer jurisdiction where none exists and cannot make a void
proceeding valid. lt is a clear and well established law that a void order can be challenged in any
court, OLD WAYNE MUT. L. Assoc. v McDonough, 204 US 8, 27 8. Ct. 236 (1907).
Therefore, it is outside of any court discretion to lay claim as to any Rule 12(b). Failure to
State a Claim to Which Relief Can Be Granted Can Be Granted decision as said decision
would, in fact, be outside the jurisdiction of any court. “A court has no jurisdiction to
determine its own jurisdiction, for a basic issue in any case before a tribunal is its power to
act, and a court must have the authority to decide that question in the first instance,”
Rescue Army v. Municipal Court of Los Angeles, 171 P2d 8; 331 US 549, 91 L. Ed 1666, 67
S, Ct. 1409.
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Any “... departure by a court from those recognized and established requirements of law
however close apparent adherence to mere form in method of procedure, which has the effect of
depriving one of a constitutional right, in an excess of jurisdiction,” Wuest v. Wuest. 127 P2d
934, 937.

Furthermore, there is a clear distinction between an individual and a corporation, and that the
latter has the right to stand upon his constitutional rights as a citizen. He is entitled to carry on
his private business in his own way. His power to contract is unlimited. He owes no duty to the
State, since he receives nothing therefrom, beyond the protection of his life and property. His
rights are such as exists by the law of the land a~long antecedent to the organization of the State,
and can only be taken away from him by due process of law, and in accordance with the
constitution. He owes nothing to the public so long as he does not trespass upon their rights, Hale
v. Henkel, 201 US 43.

If you allege that this common-law constitutional entity is subject to some statute, rule, or
regulation or if you should allege that this common-law constitutional entity owes some
obligation. debt. duty, fee or fine, please state what jurisdiction the statutory agency you
represent has jurisdiction over this common-law constitutional entity. Further, for any and all
statute(s), rule(s), regulation(s) alleged to have authority or power over this common-law
entity, please produce the Signed and Sealed Certificate of Statute by the Supreme Court
giving and agency/agent the authority and power to enforce said statute, rule or regulation.
Please take cognizance of the following court rulings:

{a) The law provides that once the State and Federal jurisdiction has been challenged, it must be proven.”
Main v. Thiboutot, 100 S. Ct. 2502 (1980);

(b} “Once jurisdiction is challenged, it must be proven.” Hagan v. Lavine, 415 US 533:

{c) “Where there is absence of jurisdiction, all administrative and judicial proceedings are a nullity and confer
no right, offer no protection and afford no jurisdiction, and may be rejected upon direct attack.”
Thompson v. Tolmie, 2 Pet 157, 7 L. Ed 381, Griffith v. Fraizer, 8 Cr.9,3L. €d 471;

(d) “No sanctions can be imposed absent proof of jurisdiction.” Standard v. Olsen, 74 S.Ct. 768, Title 5 U.S.C.
Sec. 556 and 558(b):

(e) “The proponent of the rule has burden of proof.” Title 5 U.S.C. Sec. 556(d);

{f} “Jurisdiction can be challenged at any time, even on final determination.” Basso v. Utah Power & Light
Co., 495 2"° 906 at 910.

Let it be known, until such a time as written proof of jurisdiction is demonstrated and filed in the
Court of Record of this case, the Accused shall be entitled to the conclusive presumption that
lawful jurisdiction is lacking In Personam and In Rem. Let this statement serve as Constructive
Notice that this common-law constitutional entity. in the eyes of the Law, intends to prosecute to
the fullest extent of the Law anyone who infringes its rights as “officers of the court have no
immunity,” when violating a constitutional right, from liability, for they are deemed to know the
law,” Owen v. City of Independence, 448 US 1. 100 S. Ct. 2502: Hafer v. Melo, 502 US 21.
Furthermore, upon determination of this court that jurisdiction did and is, in fact lacking in the
cause in question, any act (or future acts) of detention, arrest, incarceration, or physical harm to
Lewis-Jay:Porter ©, Sui Juris, a real flesh and blood State Citizen is assigned the minimum
monetary values as pre precedent established by Trezevant v. City of Tampa, 741 D. 2d 33
(1984). where the court awarded $25,000 per 23 minute period, i.e. $65,217.91 per hour, plus
punitive damages in the amount decided solely by Lewis-Jay:Porter ©, Sui Juris, Secured Party.
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The Secured Party shall pursue damages for injuries via his administrative process and
procedures according to the Common Laws of the Land.

International Commercial Affidavit
Presented AS/UNDER LETTER ROGATORY

THIS NOTICE under Letter Rogatory, is in support of the International Commercial Instrument.
private Agreement(s) and filed W-8BEN and Executed hereunder as Lawful “PUBLIC
NOTICE™ UCC §1-201(25) (27). This affidavit is executed under the penalty of perjury: in
nature of 28 USC §1746 (1) expressly without UNITED STATES, i.e. 28 USC §3002 (15) (a);
UCC §9-307 (8); U.S.C.A. Const. Art.1:8:17-18, Administered by a commissioned officer(s).
This is also my Lawful Notice that all such signatures of mine in the future, with such
government or otherwise-adhesion sources, are to be considered as “TDC” [Threat, Duress and
Coercion] and/or “without prejudice,” whether appearing therewith or otherwise, including
banks, licenses, etc. So is it, respectfully demanding that my Constitutional “Privileges and
Immunities” (Article 4:2) are apart from Article 1:8:17-18’s Washington D.C., and shall not by
Law be violated ever.

The Secured Party lLewis-Jay:Porter, signatory herein is executing this instrument, under
signature, expressly to declare his status as a Non-Resident-Alien in regards to U.S. INC:(ID)
“with no duress”, in accord to the terms aforementioned private agreement (See U.S.C.A.
Const. Art. 1:18:1). Therefore, I the Secured Party Lewis-Jay:Portcr duly deposes and says
without recourse that the foregoing is true, correct, complete and certain. All Subject-
Matter within my International Security Agreement; Private Agreement(s) oa specifically

filed W- 8BEN as public record, supported by this Affidavit, executed this YW day of
‘y at , hunc pro tunc Federal Rule 15c to. j day of
—_ 4 , hunc pro tunc, the Secured Party’s Eighteenth Birthday.

: 32 hab Sout! Votan
Lewis-Jay:Porter

Affiant & Real Property In Interest UCC §1-202;

All Rights Explicitly Reserved Without Any Recourse & Without Prejudice
Status as a Non-Resident Alien, Fed. R. Evid. 902 (3)

As a Matter of Substantial Law

*ee** Republict**** Supp... FRCP. 8E; FRCP 9 (i)

Without the united States INC. UCC es 9- aay (h)

Ose R

Notary Public

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IDENTIFICATION OF MOVING PARTY

BY “SPECIAL VISITATION™, |, Lewis-J, Sui Juris of the Porter family am the Movant
[hereinafter] referred to as Secured Party/Plaintiff.

Secured Party/Plaintiff is a natural born. free, living, breathing, flesh and blood human with
sentient and moral existence, a real man/woman upon the soil, a juris et de jure, also know
as a Secured Party and an inhabitant. not a United States Citizen [See Filed Filing Exhibits].
Secured Party/Plaintiff is not a subject of, or to, the Texas State Constitution or the United States
Constitution, its Ordinances, Statutes, Codes. or Regulations; or subject of, or to, Executive,
Legislative, nor Judicial Jurisdiction of its actor(s), agent(s), officer(s), employee(s), or elected
officials of Government, as defined as Corporate.

STATUS OF SECURED PARTY

SECURED PARTY is currently being held against his will in the location of the
DEPARTMENT OF CORRECTIONS pursuant to an unconstitutional judgment.

Secured Party is also a Secured Party/Creditor to LEWIS JAY PORTER [DEBTOR] or any
variations or derivatives thereof or therefrom, in any form [See UCC-1 Filing(s)].

Secured Party is Holder-In-Due-Course by recorded Security Agreement. and holds a Superior
Priority Claim over LEWIS JAY PORTER [DEBTOR], in any form.

Secured Party is the recorded owner and principal Party-In-Interest of the Trade Name(s)
LEWIS JAY PORTER [DEBTOR] or any variations thereof or therefrom, in any form.
Secured Party is the record owner and principal Party-In-Interest of the following entitled
document(s) and related Nacogdoches County, Nacogdoches, Texas, Cause No: F1118957:
“STATE OF TEXAS V. LEWIS JAY PORTER” [SEE FILED UCC-1 STATEMENT AND
JUDGEMENT SENTENCING].

STATE OF ISSUES

1. Petitioner tendered payment and a private administrative remedy to the named Respondent pursuant to
the Administrative Procedures Act, which were served upon Respondent by an impartial third party
witness, requesting that case no: F1118957 be set off, settied and closed, and the Respondent obtained a
court order for his release from custody and all conditions of supervision released, as the matter had been
discharged; and in the alternative, upon the Respondent’s failure to do so, the Petitioner requested the
Respondent to provide proof of claim of the court's jurisdiction.

2. Petitioner filed in the commercial registry (UCC file # 40000136539990) under Initial Financing Statement
and Trust # # 40000136539990, filed at the TEXAS Secretary of State Office a LEGAL NOTICE AND
DEMAND where the State of TEXAS and its Agencies/Agents agreed “... the undersigned Secured Party is
not a citizen within; surety for; subject of; and does not owe allegiance, feaity, bond, undertaking,
obligation, duty, tax, impost, or tribute to ....... Including the “STATE OF TEXAS by whatever name it may
currently be known or hereafter named (exclusively of the “State of Texas,” i.e. “Republic of Texas”) and
the like. Now having been filed nunc pro tunc and made a matter of public record.”

3. Respondent(s) agree that his default, which was by his choice, would comprise his agreement with alt the
terms of this trust contract and his waiver of all rights of recourse, appeal, objection, protest, claim, or
controversy having had opportunity and failed to plead.
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4. Since the above matters have been agreed upon, and the conditions of the contract have been stipulated,
there is no longer a controversy before the court. The above mentioned stayed in tacit admission
throughout all Notices.

NOTICE OF VOID JUDGMENT

1. In anticipation of the respandent’s objections, which he/she has waived the right to bring up, petitioner
conditionally accepts the respondent’s failure to credit the defendant's account and obtain an order for
his release UPON PROOF OF CLAIM that the tender of the payment did not discharge the obligation
pursuant to law, and proof of claim that his failure to timely point out a defect in the instruments des not
lawfully serve as a waiver for the right to do so now.

2. Inanticipation of the respondent's objections, which he/she has waived the right to bring up. Petitioner
conditionally accepts the respondents claim that he did not contract with the Petitioner upon proof of
claim that pursuant to laws of contract Petitioner did not have the right to reasonable reliance upon the
respondents apparent intent as portrayed by his conduct, and UPON PROOF OF CLAIM that in deciding
whether a person agreed to a contract, the law DOES NOT gage intent objectively, that is, it DOES NOT
evaluate the person’s overt acts, words and conduct to decide whether they reasonably signified an intent
to enter the transaction.

3. Upon anticipation of the respondents’ objections, which he/she has waived the right to make, the
petitioner conditionally accepts respondents claim that he had no obligation to rebut any of the
allegations presented to him, UPON PROOF OF CLAIM of the following:

a) That avoid judgment cannot be challenged at any time;

b) That a void judgment cannot be challenged collaterally via a private administrative pracess;

c) That it is NOT the prosecutors’ duty and obligation to provide ALL the facts that establish the
courts jurisdiction, and place them upon the record — even in a collateral attack against
jurisdiction; and

d) That the Respondent DOES NOT have an oath of office ta uphold the constitutions, which
includes due process of law and equal protection under the law; and that his oath does not
require him to correct any constitutional and due process violations.

In order for any government agency, subsidiary, or law to be applied to an individual
American Citizen, it must be provided or assumed that the government has jurisdiction in
the matter over that particular individual for that time. Specifically. before an individual can
be charged and convicted with a crime, the government official or agency must prove
jurisdiction.

The Court must be one of competent jurisdiction. To have valid due process. the tribunal must be
a creature of its constitution, in accord with the law of its creation, 1.e. (article II] judge). Without
the limiting factor of a court of competent jurisdiction, all citizens would be in jeopardy of loss
of liberty being imposed at any bureaucrat’s eithin. [t is conceivable that the procedure could
devolve to one in which the accuser, the trier of facts, and the executioner would be one in the
same.

All government actors operate in a fiduciary/trustee capacity in particular. and in specific. in a
courtroom situation, the case itself is a trust. The prosecutor is the executor/trustec of the trust;
named the defendant, which is always a fictional entity name in all capital letters, is the trust
itself. The only courts which the public has access to today are legislative/administrative courts,
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which enforce codes and statutes that only apply to corporations or other fictional entities.
because the Sovereign (the people upon whom the sovereignty rest in this nation), are not named
in the codes, and therefore, are not subject to the codes. These Courts have no jurisdiction

over living men. When the judge and the prosecutor use deceit and trickery to cause the living
man to believe he is actually the defendant, those public officials breached their fiduciary
duties, and breached their contract (oath of office) with the public, and are subject to legal
actions.

JURISDICTION
Jurisdiction, once challenged, is to be proven, not by the Courts, but by the party attem pting
and/or has asserted jurisdiction. The burden of proof of jurisdiction lies within the asserter.
The Courts {D/B/A Carrie Gilcrease and/or his/her successor] has had time and two (2) different
chances to respond, but has gone silent and thus refusing to answer the CAVE stating violation(s)
of accused [See Exhibit’s A-C].
Any ~... departure by a court from those recognized and established requirements of law
however close apparent adherence to mere form in method of procedure, which has the effect of
depriving one of a constitutional right, is an excess of jurisdiction.” Wuest v Wuest, 127 P2d
934, 937. Furthermore, there is a clear distinction between an individual and a corporation,
and that the former has the right to stand upon his constitutional rights as a citizen. He is entitled
to carry his private business in his own way. His power to contract is unlimited. He owes no duty
to the State, since he receives nothing therefrom, beyond the protection of his life and property.
[lis rights are such as exists by the law of the land long antecedent to the organization of the
State, and can only be taken away from him.
Therefore, and before you try. it is outside of any courts discretion to lay claim as to any rule
12(b)(6) “Failure to State a Claim to which relief can be granted” decision as said decision
would, in fact, be outside the jurisdiction of any court. “Court has xo jurisdiction to
determine its own jurisdiction, for a basic issue in any case before a tribunal is its power to
act, and a court must have authority to decide that question in the first instance” [Rescue
Army v Municipal Court of Los Angeles, 171 P2d 8; 331 US 549; 91 L. Ed. 1666, 67 S. Ct.

1409].

RESCIND OF SIGNATURES

Beneficiary hereby revokes, rescinds and cancels ANY AND ALL
signatures, and cancels any and all silent or assumed powers of attorney
of any parties, known or unknown contracts conferring trusteeship
causing the Beneficiary to be placed as a trustee to the Trust. Beneficiary
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has given unto the Administrative Trustees POWER OF ATTORNEY
OF LIMITED FIDUCIARY DUTY of that political subdivisions office,
such power of attorney is only limited “TO” when such claims or
allegations are made against the trust for an injury.

APPOINTMENT OF TRUSTEE
NOTICE OF FIDUCIARY TRUSTEESHIP DUTY
LIMITED FIDUCIARY TRUSTEESHIP CONTRACT
This appointment cannot be rejected because appointees are already trustees; this is just a
formality.
1, Lewis-Jay:Porter ©, as Grantor and Sole Beneficiary of the LEWIS JAY PORTER©. Cestui
Que Vie Trust, a documented vessel under United States registry, otherwise described as LEWIS
JAY PORTER ©, or any alphabetical or numerical variation thereof, a.k.a. (Debtor), make the
following declarations.
Beneficiary hereby revokes, rescinds and cancels any and all signatures, and cancels any and
all silent or assumed powers of attorney of any parties, known or unknown contracts
conferring trusteeship causing the Beneficiary to be placed as a trustee to the Trust.
Beneficiary has given unto the Administrative Trustees POWER OF ATTORNEY OF LIMITED
FIDICIARY TRUSTEESHIP DUTY of that political subdivision as they have assumed the title of
sovereign to hold that political subdivision office. Such power of attorney is limited “To”
when such claims or allegations are made against the trust for an injury.
All government actors operate in a fiduciary/trustee capacity in particular, and in specific, in a
courtroom situation, the court case itself is a trust. The prosecutor is the executor/trustee of
the trust; the named defendant, which is always a fictional entity named in all CAPITAL
LETTERS, is the trust itself. The living man is the grantor/sole beneficiary of the all capital letter
fictional entity/trust. The only courts which the public has access to today are
legislative/administrative courts which enforce codes and statutes, which codes and statutes
only apply to corporations or other fictional entities, because the Sovereigns (the people upon
whom Sovereignty rests in this nation) are not named in the codes and statutes, and therefore,
are not subject to them. These courts have no jurisdiction over the living man. When the judge
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and the prosecutor use deceit and trickery to cause the Living Man to believe he is actually the
defendant, those public officers have breached their fiduciary duties, and breached their
contract with the public, and are subject to legal action without any form of immunity. Upon
entry of public office, the public officers named or otherwise identified herein agreed to such
contract under TITLE 28>PART V>CHAPTER 115>§1746. Unknown declarations under penalty
of perjury, USAM TITLE 9 Criminal Resource Manual 1760 Perjury Cases & Title 22 CFR FOREIGN
RELATIONS 92.18 Oaths and Affirmations defined. Once trustees assume the duty to public
offices they now become a trustee and accepted limited trusteeship to the people of that
National State. As there is a Quasi Contract/Constructive Contract to hold that public office in
good faith, said trustees need not to be notified or reminded of their Quasi
Contract/Constructive Contract obligation when called upon by the Beneficiary to step into
such trusteeship in behalf of the Beneficiary as it would be one from their Administrative
Offices that would cause said Trust to be called into question. Any refusal of any Administrative
Trustee to accept limited Trusteeship over said Trust upon the request of the Beneficiary would
cancel any and all claims or allegations of perjury made by any administrative party.

If for any reason a Licensed Practitioner, whether named or unnamed herein, is required to
represent the Beneficiary, said Practitioner takes on the role of Trusteeship and therefore takes
on full responsibility of debt and liability of such actions, releasing the Beneficiary of any and all
claims and damages. Said Practitioner also is required to come under TITLE 28>PART
V>CHAPTER 115>§1746. Unsworn declarations under penalty of perjury, USAM TITLE 9 Criminal
Resource Manual 1760 Perjury Cases & Title 22 CFR FOREIGN RELATIONS 92.18 Oaths and
Affirmations defined, upon entry of said public service to the court.

Although the persons identified herein already hold a fiduciary trusteeship, I find it necessary to
point this out to them because they have heretofore ignored their lawful fiduciary duties, and are
Acting/have Acted in blatant disregard of those duties. Therefore, I, Lewis-J of the Porter
Beneficiary, do hereby appoint the Prosecutor D/B/A Carrie Gilcrease and/or his
successor(s), as the principal Fiduciary Trustee, as well as any of his/her assistants, as co-
Trustee for any judicial or administrative matter in which the LEWIS JAY PORTER Cesrui Que
Vie Trust may be involved, past, present and future, and specifically for the “Case No:
F1118957°, and I specifically appoint the Co-Trustee(s) to settle and close the matter of any and
all bonds, warrants, securities, hypothecations and related Instruments, (hereinafter
Accounts/Cases) to date of inception, zeroing the account. Whereas, said fiduciary trustees
responsibilities are to exercise scrupulous good faith and candor towards, and for the benefit and
behalf of LEWIS JAY PORTER.

Grantor and Sole Beneficiary of the LEWIS JAY PORTER © Censui Que Vie Trust, the
exclusive and limited purpose of accepting and receiving all liabilities, accepting and receiving
all service of process and other documents, instruments, bonds or other important papers, to
appear and discharge. settle and close all matters material to said Trust. the same shall be by
order of LEWIS JAY PORTER ©.

Grantor and Sole Beneficiary of the LEWIS JAY PORTER © Cestui Que Vie Trust, or other
delegated appointee of LEWIS JAY PORTER, including assignments for or on behalf of the
principal |.ewis-Jay:Porter, and to do all other acts requisite to faithfully execute said
appointment, fully, faithfully, specifically under this appointment.

The trustees assume all responsibility of any debt and liability for said Trust. Said Trustees
assume all contractual agreements when the Trust comes into question by one of their
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Administrative Officers who would make claims or allegations of an injury caused by such Trust.
Said Trustees assume full responsibility of debt and liabilities of all hidden power of attorney
agreement(s} created from the certificate of Birth or by any other account number given to
such Trust by the FEDERAL UNITED STATES as a contract that would be given to that of a
UNITED STATES citizen.
Carrie Gilcrease and/or his/her successors, as Fiduciary Heir, speculation with Trust funds is
prohibited in the doctrine of Fiduciary obligation and thereby presents firm guide to you. The
pre-emergence characteristic of speculating, by assuming use of public debt, is a breach of the
public trust. In my Acceptance of Public Office of said Respondent(s) STATE OF TEXAS Cause No:
F1118957 (accounts), which has been given value and are Exempt from Levy. | request
adjustment to the accounts to zero and the release of all proceeds, products, accounts,
any/all fixtures and/or instruments, bonds and order them to be sent to the Secured Party. In
that, no one is registered in the local chamber/community to operate against this flesh and
blood human in commerce.
As the administer of the criminal bonds, you know that all interactions between people
(persons) are commercial undertaking based on on Commercial law (contracts), to include any
legal proceedings. With this in mind, even any type of legal action, which the corporate
individual Carrie Gilcrease, and/or his/her Successors, causing the action or sign the order of
cause(s), must register their claim(s) in the Commercial Registry, or said individual using an
assumed tax exemption of the CORPORATE DEBTOR, LEWIS JAY PORTER, that is named as
the defendant thereby causing fraud.

CAVEAT
Carrie Gilcrease, and/or his/her successors, in his/her individual capacity as well as his/her
appointed capacity has had every opportunity to respond to the Proof of Claim instrument(s)
that were addressed and sent to him/her by Certified Mail, [See Exhibits]. For the Court Record,
Carrie Gilcrease, and/or his/her successors, must comply with the Proof of Claim answering
each question that has been presented by Affidavit Form and sent back to the Court.
The verified petition set forth certain fact(s), made inquiries, and provided proposed answer to
the inquiries for the official record. Petitioner provided notices to the Respondent(s) that any
failure to answer would be accepted to assent to all claimed facts and answers to inquiries,
STARE DECISIS, by Tacit Procuration. As of operation of Law, Respondent(s) are in DEFAULT,
admit fault, and assent to all verified claims and answers to injuries provided in Petitioners
Petition by tacit procuration. The Collateral being held in trust, in the Department of
Corrections shall be released based on the facts and upon the evidence that has been obtained,
for the use of and to obtain the Order for Release by the State entities that shall be utilized to
assure the release of said collateral, as the court has no jurisdiction over the living human flesh
and blood. If release of property is not agreed to within 72 Hours [Regulation Z grace] then a
hearing to appoint the Trustee doing business as Carrie Gilcrease and/or his/her successor(s)
but not limited to appointment of any/all judge(s), Agent(s) or Appointed Counsel(s) as Co-
Trustee, From the time Carrie Gilcrease and/or his/her successors and Appointed Judge(s)
accepted membership to the STATE BAR OF TEXAS, his/her citizenship is voided accepting the
“honour” incapable of holding any office and/or trust for profit. Having Sworn an Oath toa
foreign power, their lawful status is that of Alien(s} as articulated in Title 8 U.S.C.A. Sec. 1101
(a)(3). It has been confirmed by the people in Congress that the officials are hiding behind their
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FOREIGN SOVEREIGN IMMUNITY ACT. This can be validated under RULE 4 J of the Federal Rules
of Civil Procedures that ALL OF THE OFFICIALS IN THIS COUNTRY ARE ACTING UNDER A
FOREIGN STATE. THEY ARE OPERATING OUTSIDE THE JURISDICTION OF THE UNITED STATES.
NO CITY OR COUNTY CAN HEAR ANY CASES DEALING WITH CORPORATIONS, and then the
lower courts have jurisdiction over we the people.

JUDICIAL NOTICE

Comes Now, the United States (hereinafter “Intervenor” ex relatione Lewis-Jay:Porter ©,
Citizen of ONE OF the United States of America (hereinafter “Relator”) and hereby seeks to
place upon the record in this Court of his/her Judicial Notice in the above called/styled/titled
civil action for reasons set out herein below, and shows the Court as follows: ALL PARTIES ARE
HEREBY NOTICED:
Alleged Defendants in the above called/styled/titled civil action File #F11189857 bring this
Judicial Notice to cause the court to take Judicial Notice of the following:
Therefore, I, Lewis-J of the Porter family Beneficiary, do hereby appoint the Prosecutor Carrie
Gilcrease, and/or his/her successor(s) as the principal Fiduciary Trustee(s), as well as any of
his assistants, as Co-Trustees for any judicial or administrative matter in which the LEWIS JAY
PORTER Cestui Qui Vie Trust may be involved, past, present and future, and specifically the
Case No: F1118957, and | specifically appoint the Co-Trustee(s) to settle and close the matter
of any and all bonds, warrants, securities, hypothecations and related instruments,
(hereinafter Accounts/Cases) to date of inception, zeroing the account. Whereas, said
fiduciary trustee(s) responsibilities are to exercise scrupulous good faith and candor towards,
and for the benefit and on behalf LEWIS JAY PORTER.

FOR DEPOSIT’ PURSUANT TO 48 Civil Federal Rules”

 

1) Black’s Law Dictionary 8" edition page 471 “Deposit” 3.5 under civil law [Cases: Bailment 2 C.1.S.
Bailments §§ 5, 14, 16-19]. Also [1 C.J.S. Bailment §§ 2-13,15,19.22-24,31].
2) Reference:

RELIEF SOUGHT & CONCLUSION

Carrie Gilcrease, and/or his/her successors, representing the Court D/B/A Texas knowingly and
willingly, allow the STATE OF TEXAS to proceed against the Secured Party, committing a
malfeasance of justice, through negligence and/or inadvertence to secure and present the
Proper Parties, e.g. “THE STATE OF TEXAS” serve proper service of process on presentment or
indictment of a duty constituted Grand Jury, contrary to both State and Federal Constitutions.
This Court did, in fact, “charge” LEWIS JAY PORTER, a DEBTOR (hereinafter and in any context
relating to any action “debtor”), a governmentality created fiction, existing for Commercial
purposes only, existing in contemplation of Law, and non-existent. This Secured Party is the
Holder-In-Due-Course and has established an un-rebuttable Superior Claim over that of the
STATE OF TEXAS concerning the Debtor. Furthermore, the STATE OF TEXAS cannot state a claim

against DEBTOR LEWIS JAY PORTER.
Case 9:17-cv-00075-RC-KFG Document1 Filed 05/08/17 Page 13 of 42 PagelID#: 13

It is well within this COURT’S discretion to Order the following requests for relief:

1. That the 145" Judicial District Court, Nacogdoches County, Cause No: F1118957 be vacated for want/lack
of Subject Matter Jurisdiction and Dismiss with Prejudice;

2. That the Secured Party, Lewis-Jay:Porter © be DISCHARGED from the custody of any/all STATE OF TEXAS
AGENCIES;

3. That Carrie Gilcrease, and/or his/her successors, must prove and provide on the record that he/she had
either jurisdiction or any Law that can supersede the Holder-In-Due-Course Priority Claim. If Carrie
Gilcrease, and/or his/her successors, state any Law, please have him/her for the record show any/all
Certificates of Statutes related to those Laws he may use;

4. That Carrie Gilcrease, and/or his/her successors, must prove and provide said proof on the record that
he/she or the Court had lawful jurisdiction over the Living Man/Secured Party Lewis-Jay: Porter;

5. If Carrie Gilcrease, and/or his/her successors, cannot provide any of the above, Secured Party Lewis-Jay:
Porter requests a Hearing to appoint Carrie Gilcrease and/or his/her successors, as Trustee(s) of LEWIS
JAY PORTER and the Secured Party Lewis-Jay:Porter be released/discharged from any and all obligations

owed to the STATE OF TEXAS.

le (\/\
Executed by my own hand this 4 __, day of Hay , of the year
2017.

s ny)
fonts -\ Noy Loutw @
Lewis-Jay:Porter ©, In Propria Personam

Trade Name Owner, Holder-In-Due-Course
Secured Party Creditor | .ewis-Jay:Porter
Case 9:17-cv-00075-RC-KFG Document 1 Filed 05/08/17 Page 14 of 42 PagelID#: 14

Certificate of Service
|, Lewis-Jay:Porter, have/has served the following via U.S. Mail as follows:

United States District Court,
Eastern District of Texas,

Lufkin Division

Attn: David O’Toole Clerk

104 N 3rd St, Lufkin, TX [75901]

Carrie Gilcrease
101 West Main Street Ste. 250
Nacogdoches, Texas [75961]

On this Ne gay of Many of the year 2017.
J\LUUL) = \ AQUY +C VAL AS

Lewis-Jay:Porter ©

Y

 
___ Case 9:17-cv-00075-RC-KFG Document1 Filed 05/08/17 Page 15 of 42 PagelD #: 15

EXHIBIT “A”
CAFV CASE NO: O701/971(,- |!

CERTIFIED MAIL NO: [SEE ATTACHED]
TOIG al4o C000 4903 0aAy3
  

BENDER: COMPLETE THIS SECTION

    
     

  
   

 

 

 

 

 

 

  

 

 

 

 

 

™ Complete items 1, 2, and 3.
@ Print your name and address on the reverse / ay C1 Agent
so that we can return the card'to you. aan, 2 [1 Addressee
@ Attach this card to the back of the mailpiece, Bay va 6 hg ae Date of Pelivery
or on the front if space permits. ded p, i 9 ike | 3 :
}. Article Addressed to: Late m item 17/1 Yes
if YES, enter delivery addrgss below: _[] No
Attn: Carrie Gilcrease (or current successor)
D.B.A. PROSECUTING Ost 4
101 West Main Street \ Torey
Suite 220
Nacogdoches, TX 75961
3. Service Type D Priority Mail Express®.
C1 Adult Signature Restricted Delivery (1 Registered Mail Restricte
tCertified ivery
9590 9402 2306 6225 1463 35 “TD Certified Mail Restricted Detivery Return Receipt for
_ 2 Collect on Delivery alee on™
2 Article Number (Transfer from service labe) Tr collect on Delivery Restricted D 1 Signature Confirmation
Restricted Delivery

POL6 2140 0000 4903 o243

Gi Restricted Delivery

 

 

PS Form 3811, July 2015 PSN ’7530-02-000-9053

Domestic Return Receipt

 

16 of 42 PagelD #: 16
Case 9:17-cv-00075-RC-KFG Document1 Filed 05/08/17 Page 17 of 42 PagelD # 17

EXHIBIT “B”
NOTICE OF FAULT AND OPPORTUNITY TO CURE
CERTIFIED MAIL NO: [SEE ATTCHED]

TOle alto cc00 4903 0718b
   
    

   

m Complete items 1, 2; and 3.
@ Print your name and ‘address on the reverse
so that we can return the card to you.

& Attach this card to the back of the mailpiece,
or on the front if space permits.

SENDER: COMPLETE THIS SECTION

dh rsuf (4

18 of 42 PagelD #: 18

 
 

  

 

B. Received by wa Name)

 

 

Attn: Carrie Gilcrease (or current successor)
D.B.A. PROSECUTING ATTORNEY

101 West Main Street

Suite 220

Nacogdoches, TX 75961

   

 

1. Article Addressedto a

 

 

D. Is delivery address different from item 1?
- If YES, enter delivery addréss below:

oe

 

 

 

 

 

 

3. Service Type ( Priority Mail Express®
BMA AAUUNMNIUINNN J eaaezsete gees
Ee Adult Sinai Restricted Delivery Oo Registered Mail Restricted
- 9590 9402 2306 6225 1455 50 “10 Certified Mail Restricted Delivery _ atrium Recelpt for
D Collect on Delivery Merchandise
FIT os Finaaine fam waning lahal ( Collect on Delivery Restricted Detivery-2 Signature Confirmation™
D Signature Confirmation
70h fl40 OO00 4903 O76 restricted Delivery Restricted Delivery
, PS Form 3811, July 2015 PSN 7530-02-000-9053 Domestic Return Receipt

 
Case 9:17-cv-00075-RC-KFG Document1 Filed 05/08/17 Page 19 of 42 PagelID #: 19

EXHIBIT “C”
PETITION FOR REDRESS OF GRIEVANCES IN THE NATURE OF A
PRIVATE INTERNATIONAL ADMINISTRATIVE REMEDY
CERTIFIED MAIL NO: [SEE ATTACHED]

TOG AIHO 00COO 4903 48]
   

BENDER: COMPLETE THIS SECTION

m@ Complete items 1, 2, and 3.
m Print your name and address on the reverse
so that we can return the card to you.
™ Aftach this card to the back of the mailpiece,
~ *4~ front if space permits.
f, Article nuuis 4 to:

 

Attn: Carrie Gilcrease (or current successor)
D.B.A. PROSECUTING
101 West Main Street
Suite 220

Nacogdoches, TX 75961

1S ih
Petey ViatA.

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A. Siggatyye

  
 
   
  

     
  
 

  
   
 

CI Agent

Uy ALL

   
 

 

ZI LL 4 (_f T] Addressee
pted Ne e C_ Date of Delivery
LT pol

Veet oe

 

MB/s delve address diffe Ea ‘fem 1? C1 Yes
lf YES, enter delivery ad a below: [No

 

 

 

 

 

 

3. Service Type O Priority Mail Express®

0 Adult Signature 0 Registered Mail™

O Adult Signature Restricted Dellvery [1] Registered Mall Restricted!
i Del

9590 9402 2305 6225 4677 52
2. Article Number (Transfer from service label)

7016 2140 0000 4903 6481

 

 

Mall® livery
O Certified Mail Restricted Delivery _EyRetum Receipt for
G Collect on Delivery jerchandise

   

 

PS Form 3811, July 2015 PSN 7530-02-000-9053

G Collect on Delivery Restricted Detivery_-£1 Signature Confirmation™
7 tenet Mail 1 Signature Confirmation
fai Restricted Delivery Restricted Delivery
Domestic Return Receipt

 

20 of 42 PagelD #: 20
_ Case 9:17-cv-00075-RC-KFG Document 1 Filed 05/08/17 Page 21 of 42 PageID#: 21

EXHIBIT “D”
FILED STAMP COPY OF UCC-1
Case 9:17-cv-00075-RC-KFG

 
  

BIEN? of 4a dre Wapiti 22
e/3] Arkansas Secretary of State

Business and Commerciat Services Division

 

UCC Transmitting Utility - Initial

 

 

 

. Date Filed:10/6/2016 10:00 AM Page(s):12
UCC FINANCING STATEMENT a Filing 1D 4000013659990
g / i
FOLLOW INSTRUCTIONS . ; Document ID :7830318001
A. NAME & PHONE OF CONTACT AT FILER (optional) | Fit
4
8. E-MAIL CONTACT AT FILER (optional) , Re

 

C. SEND ACKNOWLEOGMENT TO: (Name and Address) i

[ Lewis- Jay: Porter | 4
c/o 15006 United State Highway 259 South
Mount Enterprise, Texas [ 75681 ]

| Non-Domestic / Non-Assumpsit |

THE ABOVE SPACE 1S FOR FILING OFFICE USE ONLY

1. DEBTOR'S NAME: Provide onty one Debtor name [18 oF 1b) {use exact, full name: do not omit, modlly, or ndbreviato sny part of the Debtor's name); If any part of the Individual Deblor's
name will not Ct in line 1b, leave off of item 4 blank, check hare oO ond provide the Individual Debtor information tn tiem 10 of the Financing Statement Addendum (Form UCC1Ad)

 

 

 

 

 

 

 

_ ta. ORGANIZATIONS NAME
LEWIS JAY PORTER TRUST ©
OR 1b. INDIVIDUALS SURNAME FIRST PERSONAL NAME AQDITIONAL NAME(S}INITIAL(S) SUFFIX
tc, MAILING ADDRESS city STATE |POSTAL CODE COUNTRY
1593 CNTY RD 780 DOUGLASS ™ | 75943 USA

 

 

 

 

 

2. DEBTOR'S NAME: Provids only ang Debtor name (22 of Zb) {use exact, full name; do nat omit, modify, or abbreviate any part of the Debtor's name); Ht any part of the Individual Debtor's
name will net fit in line 2b, leave ail of Item 2 blank, chack here TD) ‘and provide the Individual Debtor information tn item 10 of the Financing Ststement Addendum (Form UCC1Ad)

28. ORGANIZATIONS NAME.
LEWIS JAY PORTER; NON-ADVERSE; NON-BELLIGERENT; NON-COMBATANT PRIVATE FOUNDATION

 

 

 

 

 

 

 

OR Tap. INDIVIDUALS SURNAME FIRST PERSONAL NAME ADDITIONAL NAME(S)INITIAL(S) [SUFFIX
Zc. MAILING ADDRESS City STaTe [POSTAL CODE COUNTRY
1593 CNTY RD 780 DOUGLASS TX | 75943 USA

 

 

3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY): Provilo only one Secured Party name (3a or 3b)

3a. ORGANIZATION'S NAME i

 

 

 

 

 

 

OR 3b. INDIVIQUAL'S SURNAME FIRST PERSONAL NAME ADDITIONAL NAME(S }INITIAL(S) SUFFIX
Porter Lewis-Jay:

36. MAILING ADORESS city STATE |POSTAL CODE COUNTRY
c/o 15006 United State Highway 259 South Mount Enterprise Texas{|75682 } usa

 

 

4. COLLATERAL: ‘This financing statement covers the following coltutenal:
™ This is the entry of collateral by Trustee/Secured Party on behalf of the Trust/Estate; LEWIS JAY PORTER TRUST® in the Commercial Chamber
under necessity to secure the rights, title(s), interest and value therefrom, in and of the Root of Title from inception, as well as all property held in trust
including but not limited to DNA, cDNA, cell lines, retina scans, fingerprints and all Debentures, Indentures, Accounts, and all the Pledges represented
by same included but not limited to the pignus, hypotheca, hereditments, res, the energy and all products derived therefrom nunc pro tunc, contracts,
agreements, and signatures and/or endorsements, facsimiles, printed, typed or photocopied of owner's name predicated on the ‘Straw-man,’ Ens
legis/Trust/Estate described as the debtor and all property is accepted for value and is Exempt from levy. Lien places on debtor entities is for all
outstanding property still owed but not yet retumed to trust from entities such as municipalities, governments and the like , not on trust entity itself,
Trustee is not surety to any account by explicit reservation/indemnification. The following property is hereby registered and liened in the same: All
Certificates of Birth Document 142-76-128486/QA08401506, SSN/UCC Contract Trust Account-prepaid account Number: XXX-XX-XXXX; Exemption
Identification Number: 451516997, is herein liened and claimed at a sum certain $100,000,000.00, also registered: Security Agreement No. 07011976-
LJP-SA, Hold Harmless & Indemnity Agreement No. 07011976-LJP-HHIA, Copyright under item no.: 07011976-LJP-CLC Adjustment of this filing is
in accord with both public policy and the national Uniform Commercial Code. Trustee/Secured Party, Lewis- Jay: Porter, is living flesh and blood
sojourning upon the soil of the land known as Texas, and not within fictional boundaries, territories nor jurisdiction of any fictional entity including
fictional Federal geometric plane(s). Trespass by any agent(s) foreign or domestic, by such in any scheme or artifice to defraud. Full reverence and by
A AGEN 5 9 ,

 
  
 

Py Br) C TDL} +e Ar 11) GeMmanded DG Q Peo Da Pin t aG POT) DeiTtiCh i DI ODCITY Pr ) 0

 

5. Cheek only if appficable end check only one box: Collateral Is [y]hatd in. Trust (soe UCCIAS, item 17 and Instructions) being sdministered by 9 Oeoodent's P 1 Reprosontati

 

 

 

 

 

ea
Ga. Check onty if applicabte and check ently one bo: 6b, Check onty if applicable and check only one box:
| | Pubile-Finsnce Transaction | Manutactured-Home Transaction [¥] A Dabtor is a Transmiting Utility CT) Agricuturel Len Non-UCC Filing
mempmanassssanmenins ee a main
7. ALTERNATIVE DESIGNATION (tf appticabioy: [| Lesseetessor [_] Consignserconsignar [.) seterttuyer [¥] Boteesotor " — [ ] Licensenticensor
mamas a

 

8. OPTIONAL FILER rerpence DATA: a Dp
Date: Y- 7~-/ Signature: { esis ~ Joa Fortec
Intemational Can i
FILING OFFICE COPY — UCC FINANCING STATEMENT (Form UCC1) (Rev, 04/20/11) ‘™temational Association of Commercial Administrators (ACA)
UCC FINANCING STATEMENT ADDENDUM

Case 9:17-cv-00075-RC-KFG Document1 Filed 05/08/17 Page 23 of 42 PagelID#: 23

FOLLOW INSTRUCTIONS

 

9. NAME OF FIRST DEBTOR: Same es tino ta or 1b on Financing Stetemont; ¥ fine 1b was loft blank

because individual Debtor namo did not fil. check hore Cl

OR

 

89. ORGANIZATIONS NAME
LEWIS JAY PORTER TRUST®

 

 

Sb. INDIVIDUAL'S SURNAME

 

FIRST PERSONAL NAME

 

ADDITIONAL NAME(SVINITIAL(S)

SUFFIX

 

 

THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

 

10. DEBTOR'S NAME: Provide (10a or 10b) onty one additional Ocbtor namo or Debtor name that did not fit In Ene $b or 2b af the Financing Statement (Form UCC) (use exact, full name:

—

do not omil, modify, or abbrevinte eny part of the Debtor's name) and enter the mailing address In Ine 10c

 

10a, ORGANIZATION'S NAME

 

OR

10. INDIVIDUALS SURNAME

 

INDIVIDUAL'S FIRST PERSONAL NAME

 

 

 

 

 

 

 

 

 

 

 

INDIVIDUALS ADDITIONAL NAME(S)INITIAL(S) SUFFIX
10c. MAILING ADDRESS city STATE [POSTAL CODE COUNTRY
— a
11. [7] ADDITIONAL SECURED PARTY'S NAME or C) ASSIGNOR SECURED PARTY'S NAME: Provide only ong name (419 af 11)
115, ORGANIZATION'S NAME
OR Gib INDIVIDUAL'S SURNAME FIRST PERSONAL NAME ADDITIONAL NAME(SPINITIAL(S) [SUFFIX
Tic. MAILING ADDRESS City “TEOUNTRY

 

 

STATE " CODE

 

 

12. ADDITIONAL SPACE FOR ITEM 4 (Collatera!);
are outstanding belongs to the Trust administered by Trustce/Sccured Party, Title 46 USC 31343 and Article 1 and 5 of the International Convention
on Maritime Liens and Mortgages 1993, Held at the Palis Des Nations, Geneva, From April 19 to May 5,1992 United Nations (UN). This Maritime
Lien is under safe harbor and sinking funds provisions through the prescription of Law of Necessity and the doctrines of unconscionably and La Mort

— Saisit Le Vifin accordance with Applicable Law, Cardinal Orders, Ordinal Orders, and Commercial Standards.

13. O) This FINANCING STATEMENT is to be filed [far record] (or recorded) in the

15. Nama and address of a RECORD OWNER of rea! estate desoribed in iter 18

REAL ESTATE RECORDS (if applicable)

(if Ocbtor does not have a record interest):

 

14. This FINANCING STATEMENT:

0 covers Umber to be cut QO covers as-extracted collateral 0 is fied as a fixture filing
16. Description af rea! estate:

 

‘17, MISCELLANEOUS:

 

International Association of Commercial Administrators (ACA)
FILING OFFICE COPY — UCC FINANCING STATEMENT ADDENDUM (Form UCC1Ad) (Rev. 04/20/14) ° nistrators (AC
Case 9:17-cv-00075-RC-KFG Document 1 Filed 05/08/17 Page 24 of 42 PageID#: 24

HOLD HARMLESS AND |
INDEMNITY AGREEMENT

Non-Negotiable - Private Between the Parties:

DEBTOR: TRUSTEE/SECURED PARTY: |
LEWIS JAY PORTER TRUST® Lewis-Jay: Porter

1593 CNTY RD 780 c/o 15006 United State Highway 259 South
DOUGLASS, TX 75943 Mount Enterprise, Texas [ 75681 ]

...and all derivatives and variations in the spelling of said name. united states of America

TRUSTS Identifying Numbers: 45 1-51-6997, 142-76-128486/QA08401506 and any hereinafter named in trust
minutes.

This Hold-harmless and Indemnity Agreement is mutually agreed upon and entered into this Day Dated below
between the juristic person: "LEWIS JAY PORTER TRUST™ and any and all derivatives and variations in the
spelling of said name hereinafter jointly and severally "TRUST”, except, Lewis-Jay: Porter, the living, breathing,
flesh-and-blood man, known by the distinctive appellation Lewis-Jay: Porter hereinafter "Trustee",

For valuable consideration TRUST hereby expressively agrees and covenants, without benefit of discussion,
and without division, that TRUST holds harmless and undertakes the indemnification of Trustees from and against
any and all claims, legal actions, orders, warrants, judgments, demands, liabilities, losses, depositions, summonses,
lawsuits, costs, fmes, liens, levies, penalties, damages, interests, and expenses whatsoever both absolute and
contingent, as are due and as might become due, now existing and as might hereafter arise, and as might be
suffered/incurred by, as well as imposed on, TRUST for any reason, purpose, and cause whatsoever. TRUST does

' hereby and herewith expressly covenant and agree that Trustees shall not under any circumstance, nor in any manner
whatsoever, be considered an accommodation party, nor a surety, for TRUST,

Defined: Glossary of Terms

All of the STANDARD TERMS AND CONDITIONS as set forth in “ATTACHMENTS ‘A’ — DEFINITIONS”
Document Item Number: 07011976-LUP-AA apply hereto, non obstante. |

When the context so requires, the masculine gender includes the feminine and/or neuter, and the singular numbers
includes the plural. Trustee accepts TRUST'S signature in accord with UCC §§ 1-201(39), 3-401(b), 3-419.

 

 

 

LEWIS IAY PORTER TRUST® TAUS- la OMe i
LEWIS JAY PORTER TRUST® Lewis-Jay: Power - Thistbe/Secured Party’s Signatures J
: : Authorized Representative. All Rights Reserved,
TRUST"s Signature, Copyright 1994. Without Prejudice/Without Recourse NS
+o JURAT |
countyor (AME
fy ) Scilicet
J State )

  
  

UBSCRIBED AND SWORN TO before me this FA day of Poreimeer AD.201.

Seal |

 

Hold Harmless Agreement Page 1 of 1 Itemm# 07011976-LIP-HHIA
Case 9:17-cv-00075-RC-KFG Document 1 Filed 05/08/17 Page 25 of P PagelD #: 25

rom OO

(Rev. Oecember 2011)

Department of the Treasury
Intema! Revenue Service

tdentification

Notice Concerning Fiduciary Relationship

(Internal Revenue Code sections 6036 and 6903)

OMB No. 1545-0013

 

Name of person for whom you are acting {as shown on the tax retum)
LEWIS JAY PORTER TRUST®

tcentifying number

 

 

Decedent's social security no.

 

Address of person for whom you are acting (number, street, and room or suite no.)
1593 CNTY RD 780
City or town, state, and ZIP code (if a foreign address, see instructions.)
DOUGLASS, TX 75943
Fiductary’s name
Jacob Lew, et al D.B.A. SECRETARY OF TREASURY
Address of fiduciary (number, street, and room or suite no.)
1500 PENNSYLVANIA AVENUE, NORTH WEST
City or town, state, and ZIP code

WASHINGTON, DISTRICT OF COLUMBIA [20220]

(UNITED STATES)

 

Telaphone nuinber (optiona)
{ 202 ) 622-2000

 

Section A. Authority

 

1 Authority for fiduciary relationship. Check applicable box:

(_] Court appointment of testate estate (valid will exists)

(J Court appointment of intestate estate (no valid will exists)
(0 Court appointment as guardian or conservator

[¥] Vatid trust instrument and amendments

(0 Bankruptcy or assignment for the benefit or creditors

(] Other. Describe >

*~e Ao Fo

 

2a_{f box 1a or 1b is checked, enter the date of death > _

2b If box 1c—1f is checked, enter the date of appointment, taking office, or assignment or transfer of assets >

 

Section B. Nature of Liability and Tax Notices

 

3 Type of taxes (check ail that apply): [] Income [) Gift [y) Estate ([] Generation-skipping transfer [] Employment

(] Excise ([] Other (describe) >

 

 

 

4 Federal tax form number (check all that apply): e(] 706series bf] 709 ¢(] 940 df] 941,943, 944
e(] 1040, 1040-A, or 1040-EZ ff) 1041 gf) 1120 hL) Other (lst)> J

5 if your authority as a fiduciary does not cover all years or tax periods, check here . >
and list the specific years or periods »

‘6 If the fiduciary listed wants a copy of notices or other written communications (see the instructions) check thisbox. . . . » 1

and enter the year(s) or period(s) for the corresponding line 4 item checked. If more than 1 form entéred on line 4h, enter the

form number.

Complete only if the fine 6 box Is checked.

 

 

 

 

 

 

 

 

 

 

 

 

 

if this iter Enter year(s) or period(s) it this item Enter year(s) or period{s)
4a 4b
4c 4d
4e 4t
4g 4h:
ah: 4h:
For Paperwork Reduction Act and Privacy Act Notice, see the separate instructions. Cat. No, 16375! Form 56 (Rev. 12-2011}

 
Case 9:17-cv-00075-RC-KFG Document1 Filed 05/08/17 Page 26 of 42 PagelID#: 26

 

 

 

 

 

 

 

 

 

 

 

 

Form 56 (Rav. 12-2011} Page 2
FMS = Court and Administrative Proceedings
Name of court (ff other than a court proceeding, identity the type of proceeding and name of agency) Date proceeding initiated
Rddress of court Docket number of praceading
i
City or town, state, and ZIP code Date Time () am. "Place of other proceedings
CT) p.m.
Signature ,
ata g TRUSTEE On behalf OfLEWIS JAY PORTER TRUST®
1 certly that | have the authority to execute this notice concerning fiduciary relationship on behalf of the taxpayer.
Please i
Sign
Here > Jacab Leu. By appointment of LEWIS JAY PORTERTRUST® _United States Secretary of Treasury |
Fiduciary's signature Titla, if appticable Date

 

 

Form 50 (Rev. 12-2011)
ACTUAL & CONSTRUCTIVE LEGAL NOTICE [U.C.C. §§ 1-201(25)(26)(27)):

By appointment you Jacob Lew have been chosen to act as fiduciary in re LEWIS JAY PORTER TRUST®. Please see accompanying Minutes of
Trust designating your appointment. If this appointment is outside of your abilities/scope, or you do not choose to take the position please

simply return all documentation to the trust within 30 days and we will designate a new appointment.

 

Otherwise this document will act as PUBLIC NOTICE and will be filed along with related instruments upon the U.C.C. Commercial Registry
constituting “Lawful”, open, notorious, public notice of the subject-matter executed & presented in good-faith U.C.C. § 1-201{19}; U.C.C. § 1-
203 to the UNITED STATES, i.e., 28 U.S.C. 3002{15)(A}; U.C.C. § 9-307(8); U.S.C.A. .Const. Art. 1:8:17-18, by the real party in interest;
Trustee/TRUST & Holder-in-Oue-Course (HDC) of this and all related documents and Instruments.

 

TAKE SPECIAL NOTICE From "Lawful" private Trust Jurisdiction ['as defined within, 26 U.S.C. § 7701(a}(31); 8 U.S.C'§ 1101(a}{14); 28 U.S.C. §
1603(b)(3)") That entity and man are “Non-Assumpsit"; and "Non-Domestic and Non-Federal” in regards the UNITED STATES and/or any of Its
“Constituent STATES" incorporated thereof, e.g., inter alia, but not limited to, STATE OF TX STATE OF TENNESSEE, and the like; and atso in
regards the UNITED NATIONS, as well as to England & Russia... Intent to contract does not validate or give ascent to any contract or waiver of
right unless implicitly stated in writing. Noting: within a State in order to That Congress cannot create a trade or business, [i.e., "as defined
within 26 U.S.C. § 7701(a)(26),"] tax It; (See: inter alla, License Tax Cases, 72 U.S. 462; 18 L-E. 497 (1866); M’llvaine v. Coxe's Lessee,8 U.S. 209;
2 LE. 598 (1808); and Yick Wo v. Hopkins, 118 U.S. 356, 6 S.Ct 1064 (1886)). All accounts in relation to XXX-XX-XXXX/142-76-
128486/QA08401506 or the like Accounts are accepted with Claim [11 U S.C. § 101(5)] and (Special) Maritime Lien upon all related accounts
both general & special and if not currently held are to be transferred and held in LEWIS JAY PORTER TRUST; as defined in TRUST and supporting
documentation, Lien will be removed when transference and control of all aforesaid accounts are transferred in full to trust under Trustee’s

sole control. Without prejudice, for cause, fips yo Vy ! 3

Trustee/Secured P, : bewip-Jay: Porter
on behalf of LEWIS JAY PORTER TRUST®

 

    

 

 

  

 

JURAT All Rights Reserved, Without Prejudice. UCC 1-308
counyor AOS
) Scilicet I
State )
SUBSCRIBED AND SWORN TO before me this 4 he day of PEC Bec AD. 20 C9
Seal STEPHANIE MEN OZA
NOTAPY PUBLIC

) STATE OF COLORADO !
My Cgnimission Expires NOTARY ID 20134031391
MY COMMISSION EXPIRES MAY 16, 201 a

X) Notary Acknowledgment FRE 902(B}; | the Notary hereto this (International) 4 he person executing this
document, is personally known to me, or has presented sufficient evidence to establish his lawful Identity & status: | accept same as evidence of the
facts presented, I depose nothing more; executed by My signature & Seal, as authorized under My Commission.

 

 

Notice Concerning Fiduciary Relationship Item # 07011976-LJP-F56-US

 
Case 9:17-cv-00075-RC-KFG Document1 Filed 05/08/17 Page 27 of 42 PagelD#: 27

|

 

 

 

 

 

 

 

 

 

Form 56 Notice Concerning Fiduciary Relationship
Rey. December 2011) OMB No. 1545-0013
Department of the Treasury {Internal Revenue Code sections 6036 and 6903)
intemal Revenue Service !
Identification .
Name of person for whom you are aciing (as shawn on the tax retum) Identifying number Decedent's soctal security no.
LEWIS JAY PORTER TRUST ®
Address of person for whom you are acting (number, street, and room or sulle no.)
1593 CNTY RD 780 :
City or town, state, and ZIP cade (If a forelgn address, see instructions.) |
DOUGLASS, TX 75943 :
Fiduciary’s name
MELBA ACOSTA, et al D.B.A. SECRETARY OF TREASURY (UNITED STATES) 1
Address of fiduclary (number, street, and room or suite no.} }
C/O DEPARTMENT DE HACIENDA, P.O. BOX 9024140 :
City or town, state, and ZIP code Telephone euniber (optional)
SAN JUAN, PUERTO RICO 00902-4140 ( 787 ) 721-2020

 

 

Section A. Authority

 

1 Authority for fiduclary relationship. Check applicable box:

(4 Court appointment of testate estate (valid will exists)

{_] Court appointment of intestate estate {no valid will exists)
C) Court appointment as guardian or conservator

4) Valid trust Instrument and amendments

{J Bankruptcy or assignment for the benefit or creditors

(J Other. Describe >

—"eO Qaoga

 

2a If box 1a or 1b ls checked, enter the date of death >

el ae Et

 

Section B. Nature of Liability and Tax Notices

3 Type of taxes (check all that apply): [J income [] Gift [¥) Estate [] Generation-skipping transfer [] Employment
J

( Excise () Other (describe) >

 

l
4 Federal tax form number (check all that apply): a(] 706series bl] 709 cL] 940 d[] 941,943, 944
|

e[] 1040, 1040-A, or 1040-EZ ff 1041 gf 1120 nh) Other (list) >

 

 

5 if your authority as a fiduciary does not cover all years or tax periods, check here . . 4h >O
and list the specific years or periods > |
6 tf the fiduciary listed wants a copy of notices or other written communications (see the instructions) check thisbox. . . . »

and enter the year(s} or period(s) for the corresponding line 4 itern checked. If more than 1 form entered on line 4h, enter the

form number.

Complete only if the line 6 box Is checked.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

if this Iter Enter year(s) or period{s) if this item Enter year(s) or period(s)

4a 4b i
4c 4d I
4e 4t }
49 4h: }
4h: 4h: i

I

For Paperwork Reduction Act and Privacy Act Notice, see the separate instructions. Cat. No. 16375) Form 56 (Rev. 12-2017)
Case 9:17-cv-00075-RC-KFG Document1 Filed 05/08/17 Page 28 of 42 PagelID#: 28

 

 

 

 

 

 

 

 

 

 

 

Form §6 (Rev. 12-2011) | Page 2
[ey Court and Administrative Proceedings |
Name of court (if other than a court proceeding, identity the type of proceeding and name of agency) Date proceeding initiated
*
F
Addrass of court Docket number of proceeding
City or town, state, and ZIP code Date Tims C am Place of other proceedings
oO pm.
leaia signature
TRUSTEE On behalf of LEWIS JAY PORTER TRUST ©
| certify that I have the authority to'execute this notice concerning fiduciary relationship on behalf of the taxpayer. ‘
Please |
Sign .
Here MELBA ACOSTA Secretary of Treasury
Fiduciary’s signature By appointment of LEWIS JAY PORTER TRUST ® Titia, if applicable Date

 

 

Farm 56 (Rev. 12-2011)
ACTUAL & CONSTRUCTIVE LEGAL NOTICE [U.C.C. §§ 1-201(25)(26)(27)]:
_——

By appointment you MELBA ACOSTA have been chosen to act as fiduciary in re LEWIS JAY PORTER TRUST ®, Please see accompanying

Minutes of Trust designating your appointment. If this appointment is outside of your abilities/scope, or you do not choose to take the

position please simply return all documentation to the trust within 30 days and we will designate a new appointment.

 

Otherwise this document will act as PUBLIC NOTICE and will be filed along with related instruments upon the vec. Commercial Registry
constituting “Lawful”, open, notorious, public notice of the subject-matter executed & presented in good-faith U.C.C. § 1-201(19); U.C.C. § 1-
203 to the UNITED STATES, i.e., 28 U.S.C. 3002(15){A}; U.C.C. § 9-307(8): U.S.C.A. .Const. Art. 1:8:17-18, by the real party in interest;
Trustee/TRUST & Holder-in-Due-Course (HDC) of this and all related documents and instruments. }

TAKE SPECIAL NOTICE From “Lawful” private Trust jurisdiction ['as defined within, 26 U.S.C. § 7701(a){31); 8 U.S.C. § 1101{a)(14); 28 U.S.C. §
1603(b}{3}"] That entity and man are "Non-Assumpsit"; and "Non-Domestic and Non-Federal” in regards the UNITED STATES and/or any of its
“Constituent STATES” incorporated thereof, e.g., inter alia, but not limited to, STATE OF TX STATE OF TENNESSEE, and the like; and also in
regards the UNITED NATIONS, as well as to England & Russia... Intent to contract does not validate or give ascent to any contract or waiver of
right unless implicitly stated in writing. Noting: within a State in order to That Congress cannot create a trade or business, [i.e., “as defined
within 26 U.S.C. § 7701(a)(26),"] tax it; [See: inter alia, License Tax Cases, 72 U.S. 462; 18 L.E. 497 (1866); M’ilvaine v Coxe's Lessee,8 U.S. 209;
2 LE. 598 (1808); and Yick Wo v. Hopkins, 118 U.S. 356, 6 S.Ct 1064 (1886)}. All accounts in relation to XXX-XX-XXXX/142-76-
128486/QA08401506 or the like Accounts are accepted with Claim {11 U S.C. § 101(5)] and (Special) Maritime Lien’ upon all related accounts
both general & special and if not currently held are to be transferred and held in LEWIS JAY PORTER TRUST; as defined in TRUST and supporting
documentation. Lien will be removed when transference and control of all aforesaid accounts are transferred in full to trust under Trustee’s

sole control. Without prejudice, for cause, Lao, \,
S- View: cpyter

Trustee/Securéd Pafty: LéwishJay: Porter
on behalf of LEWIS JAY PORTER TRUST®

 

 

 

   

 

 

 

JURAT All Rights Reserved, Without Prejudice. UCC 1-308
County of Adame _ )
Od { ) Scilicet
State )
ORN TO before me this 3+ day epic Pet—am0 mv
@ STEPHANIE MENDOZA
Seal NOTARY PUBLIC
iZnature STATE OF COLORADO
{ NOTARY ID 20134031391
issi i \ : 2017
mmission povirel OLY, ND, 2 7 MY COMMISSION EXPIRES uw 16,

 

 

 

X) Notary Acknowledgment FRE 902(B); | the Notary hereto this (International) Commercial Affidavit, duly depose, that the person executing this
document, is personally known to me, or has presented sufficient evidence to establish his lawful identity & status; | accept same as evidence of the
facts presented, | depose nothing more; executed by My signature & Seal, as authorized under My Commission.

Notice Concerning Fiduciary Relationship Item '# 0701 1976-LJP-F56-PR
Case 9:17-cv-00075-RC-KFG Document1 Filed 05/08/17 Page 29 of 42 PagelID #: 29

rom W-8BEN| Certificate of Foreign Siatus of Beneficial Owner

 

(Rev. February 2006) for United States Tax Withholding 1 | ome No. 1545-1621
Department of the Treasury | > Section references are to the Internal Revenue Code. » See separate instructions.
Intemat Revenue Service » Give this form to the withholding agent or payer. Do not send to the IRS. ;
Do not use this form for: ' instead, use Form:
© AUS. citizen or other U.S, person, including a resident alien individual ©. ww. kk ke ee we WD
© A person claiming an exemptionis effectively connected with the conduct i

of a trade or business in the United Stales .. 2. . to. . . . W-8ECI

“W-8ECI or W-BIMY

wate

© A foreign partnership, a foreign simple trust, or a foreign grantor trust (see instructions for exceptions) . :
@ A foreign government, international organization, foreign central bank of issue, foreign tax-exempt organization, :
foreign private foundation, or government of a U.S. possession that received effectively connected income or that is
claiming the applicabllity of section(s) 115(2), 501{c)}, 892, 895, or 1443(b) (see instructions) soe ew ww 8), WESECH or W-8EXP
Noto: Thesa entities should use Form W-8BEN If they are claiming treaty benefits or are providing the form only to
claim they are a foreign person exempt from backup withhoiding.

 

 

 

 

@ A person acting as an intermediary 2. 2 2 6 ww ww ke ee eee ee 8 ee ee. WBIMY
Note: See instructions for additional exceptions. .
identification of Beneficial Owner (See instructions)
1 Name of individual or organization that Is the beneficlal owner 2 Country of Incorporation or organization
LEWIS JAY PORTER TRUST® UNITED STATES
3 Type of beneficial owner. individual [( Corporation 1] disregarded entity [) Partnership [J simple trust
Grantor trust i Complex trust CO Estate £1 Govemment CD) trtemational organization
(1) Cenwat bank of issue [)_Yox-exempt organization [4] private foundation |

 

4 Permanent residence address (streel, apt. or suite no., or rural route).
P.O. Box 9024140 |

 

 

 

 

City or town, state or province. Include postal code where appropriate. Country (do not abbreviate)
San Juan, P.R. 00902-4140 UNITED STATES
5 Mailing address (f differant from above) |
C/O 15006 United State Highway 259 South
City or town, state or province. Include postal code where appropriate. Country (do not abbreviate)
Mount Enterprise, Texas Republic united States of America

 

U.S. taxpayer identification number, if required (see instructions) 7 Foreign tax Identifying number, if any (optional)
Not Required per W-8BEN Inat p.1,2,4,5 (Cat. 25576H): W-3 Supp. inst p.1,2,6 (Cat,
: = P1.14; 31 CER 103,34(ay3vx)

 

 

 

 

8 Reference number(s) (see instructions) 26 CFR 1.874-1(b)(1)() |
Claim of Tax Treaty Benefits (if applicable)
9 | certify that (check all that apply):
a CD Tho beneficial owner isa resident Of... ..eeeeccccscsceeeseeceseneeeeceees within the meaning of the income tax treaty between the United States and that countty.

bt 1 required, the U.S. taxpayer identification number Is stated on line 6 (see instructions).

¢ (1 the beneficial owner is not an individual, dertves the item (or Items) of Income for which the treaty benefits are claimed, and, If
applicable, meets the requirements of the treaty provision dealing with limitation on benefits (see instructions).

d (1 The beneficial owner is not an individua}, is claiming treaty benefits for dividends recelved from a torelgn corporation or interest from a
U.S. trade or business of a foreign corporation, and meets qualified resident status (see instructions).

e (1 The beneficial owner Is related to the person obligated to pay the Income within the meaning of sectlon 267(b) or 707(b), and will file
Form 8833 if the amount subject to withholding received during a calendar year exceeds, In the aggregate, $500,000.
t

10 Special rates and conditions {if appticable—see instructions): The beneficial owner is claiming tha provisions of Article ............. of the
treaty identified on line 9a above to claim a............... % tate of withholding on (specify type of income): . wl cece eeeees cee euccecences .
Explain the reasons the beneficlal owner meets the terms of the treaty article: oo... oo... 02. 0.cccccoeceseeccececel ocoscesececcccaceececccece

SAAN mee meme eee RED REE EME TRE OR EEE TT EEE O HOEY OOOH EEE ENA AONE AURORE HOO ESOT Ee ED ORE EEE TAO EE b ene he nus mann ns eemnanawasenncee

 

Notional Principal Contracts

11 (7 thave provided or will provide a statement that identifies thase notional principal contracts from which the income Is not effectivety
connected with the conduct of a trade or business in the United States, | agree to update this statement as required.

Certification i

Under penalties of perjury from without the “United States* in accordance with 28 U.S.C, 1746(1), 1 declare that ( have examined the infofmation on this form and to the
bes! of my knowledge and belief It Is true, correct, and complete whan Hligated only in a state court with a jury trial. | further certify under penalties of pesury that:

1 Lam the nonresident alien (or am authorized to sign for the nonresident alian) of all the transactions to which this form retates i

2 The nonresident alien is NOT a U.S. person and Is not lable for withholding of paying Income taxes or filtag retums under 26 U.S.C. or 26 C.F.R.

3 The inceme to which this form relaies ts not effectively connected with the conduct of a “trade or business" within the "United States* and is not subject to tax under
an Income taxlaw or toaly, ad

4 For broker transactions or braker transaction, thenonresident alien is a “foreign estate" as defined in 26 U.S.C. 7701(aX{31)

The intemal Revenue Service does not require your consent to any provisions of this document other than the certifications required to establish your status as 9
non-U.S. person and, if eel obtain a reduced rate of withhotding.

 

 

wird “ AO

Sign Here Laur “J aan On behalf of LEWIS JAY PORTER TRUST? C)9-OT-AOUD Trustee juce 1-210 G5
Signature of beneficial owner (or individual authorized to sign for benaficlal owner) Dato (MM-DD-YYYY) Capacity in which acting

For Paperwork Reduction Act Notice, see separate instructions. Cat. No, 250472 Fom W-8BEN jrev, 2-2006)

® Printed on Recycied Paper
Case 9:17-cv-00075-RC-KFG Document 1 Filed 05/08/17 Page 30 of 42 PagelD #: 30

W8BEN Affidavit

 

(International) Commercial Affidavit

This Affidavit in regards to the W-8BEN on the obverse side is executed as Lawful *PUBLIC NOTICE* [U.C.C. § 1-
201(25)(26)(27)]. The Trustee/Secured Party signatory hereto is executing document under signature; expressly to
*declare trust/trustees stature as a Non-Resident-Alien in regards to U.S. Inc. (Id)" with no duress, in accord the terms
of the aforementioned. Therefore, I, the Trustee/Secured Party duly depose and says without recourse that, the
foregoing is true, correct, and certain; and if called as a witness, |! am One; who can “Testify” to the facts, evidenced,
and subject-matter within Trust Documentation and supporting documents as well as the "W-8BEN" evidence(d)
on the obverse side of this page; executed hereunder; and expressly supported by this Affidavit; executed as dated
below, nunc pro tunc to 07/01/1994 the date or original creation of trust.

NOTICE TO AGENT IS [imputed] NOTICE TO PRINCIPAL, NOTICE TO PRINCIPAL IS [Imputed] NOTICE TO ALL AGENTS
OF THE SUBJECT MATTER HEREIN, and PRESENTED IN GOOD FAITH [UCC. § 1-201(19) UCC § 1-203; UCC § 1-202].

This Affidavit is executed under the penalty of perjury; [in nature of 28 U.S.C. § 1746(1)] expressly without UNITED STATES,
{i.e., "28 U.S.C. § 3002(15}{A); U.C.C. § 9-307(8); U.S.C.A. Const. Art. 1:8:17- 18,"] Administered by a commissioned officer, i.e.,
Notary Public in accordance who is also acknowledging same [in accordance Fed.R.Evid. 902(1}(B)}.

(2OIS~ au: Qvter
Trustee/Secured Patty: LaWwis-Jay: Porter
on behalf of LEWIS JAY PORTER TRUST ©

All Rights Reserved, Without Prejudice. [UCC 1-308]

an JURAT |
County of )

) Scilicet
( ty ad State )
SUBSCRIBED NTO before me this, =} _day of Paeineer A.D. 20\\p.

SA

 

&

 

Seal STEPHANIE MENTOZA |
NOTAPY FUBLIC

Notary Public Signatur STATE OF GOORADO
My Commission Expi 5 AAQUU I pay NOTARY ID 20134031391

MY COMMISSION EXPIRES MAY 16, 2017

 
 

 

 

 

(X) Notary Acknowledgment FRE 902(B); | the Notary hereto this (International) Commercial Affidavit, duly depose, that the person
executing this document, is personally known to me, or he has presented sufficient evidence to establish his lawful identity & status; i

accept same as evidence of the facts presented, | depose nothing more; executed by My signature & Seal, as authorized under My
Commission. |

t

|

W8BEN Affidavit Item # 07011976-LJP-W8BEN
  

@ 9:17-cv-00075-R

KFG Document
Foti...

_ Tracking No. Tald 1WOXCAND (o(S! WO4¢Q _

TO: Secretary of the Treasury / |I.M.F. PRIVATE REGISTERED

C/O DEPARTMENT DE HACIENDA BOND FOR INVESTMENT
P.O. BOX 9024140, Value of Bond is: $100,000,000.00
SAN JUAN, PR 00902-4140 ONE HUNDRED MILLION U.S. DOLLARS

7 UPORERERERGKGR ONGRORO ROK GK OKOKekwet:

oie eM VW VV VV VV VY YY vv

PRIVATE REGISTERED SELF BACKED BOND BASED ON FUTURE EARNINGS IN RE;

LIVE BIRTH # 142-76-128486/QA08401506/45 |-51-6997 for Investment at the discretion of the
Secretary of the Treasury/U.S, DEPARTMENT OF THE TREASURY as Fiduciary

 

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5 Ga “ asin

% & * ¥

Attention: Fiduciary/Receiver:

The below Undersigned Principal, Lewis-Jay; Porter on behalf of the LEWIS JAY PORTER ESTATE/TRUST,
herewith includes proof of the original issued i i i i
Birth under Number 142-76-128486/QA08401506. Current value accepted and issued as credit as indicated at the
same amount as this bond. All endorsements front and back, to be attached to the original, The Undersigned
Principal being the only known legitimate party having ameliorated value into aforesaid, contributing of the credit
assured therein.

Tendered in accordance with all applicable laws including but not limited to UCC 1-104 and Public Law 73-10

and Chap. 48, 48 Stat. 112.
“<2~ BONDORDER ~sp

You are hereby directed to utilize said credit (asset funds) for sourid inv
This bond valued at ONE HUNDRED MILL i

p affairs
LEWIS JAY PORTER ESTATE/TRUST carrying 4% interest until such time.

The Secretary of the Treasury shall have Thirty (30) days from the date of receipt of this Bond, as witnessed by
the date of receipt of sending, to dishonor this Bond by returning this Bond to the Principal at the address below
by mail verified by return receipt, with an explanation of all deficiencies. Failure to return the Bond as stated shall
constitute Acceptance and Honoring of this Bond.

All overages held and not distributed may be used at the discretion of LEWIS JAY PORTER ESTATE/TRUST
for set-off any private, commercial, corporate or Public bills, taxes, debts, money claims, demand(s) for payment(s)
and the like, used in any regular course of business affairs as well as backing for lending at institutions for lines of
credit, to transmit electronic telex or other instruction to the vendor/creditor to remove ‘ledgered debt’ from their
books or for discharge/setoff for adjustment of account for settlement and/or closure. Void where prohibited by
law,

Trustee/Secured Party: LS- * yeh a thee This instrument is backed by the full faith
on behalf of LEW9S JA , - and credit of LEWIS JAY PORTER
1593 CNTY RD 780 TRUST’

DOUGLASS, TX 75943
Item # 07011976-LJP-PRB

iled 05/08/17 Page 31 of 42 PagelD a ee

 
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EXHIBIT “E”
FILED COPY OF TRUST
33

iled 05/08/17 Page 33 of 42 PagelD #:

17-cv-00075-RC-KFG Document1 F

Case 9

 

 

 

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ABSTRACT OF TRUST

 

Section I: Trust Information

 

Trust Information and Dates

a.
b.
C,

d.

ec.

The Trust is legally named “LEWIS JAY PORTER Trust”
The trust is Irrevocable

This trust was established August 24, 2016 at:

1593 CNTY RD 780, DOUGLASS, TX, 75943.

This trust has not been amended.

The EIN of this trust is Zhe 10S 390%

 

Section II: Trustee Information

 

Current Acting Trustee(s)

a.

Lewis-Jay: Porter, TTEE

b. JoAnn Johnson Baker, TTEE

The Trust requires unanimous consent among the Trustee(s) to establish an account with respect
to Trust assets, but only one trustee is required to be an authorized account manager.

 

Section HI: Beneficiary Information

 

The Certificate Holders are:

a. Jacqueline Kaye Williams
b. Madison Jade Porter
c. Logan Calhoun Coleman

Page 2 of 5
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CERTIFICATION OF TRUST

This Certification of Trust was created August 24, 2016. The Trust has been legally created as an Irrevocable Trust.
All rights and title to the assets and income of this Trust is vested solely in the Board of Trustees.

We Lewis-Jay: Porter, TTEE and JoAnn Johnson Baker, TTEE certify that we are the trustees of a trust entitled LEWIS
JAY PORTER TRUST, created by Declaration of Trust dated August 24, 2016.

We the undersigned, as the current acting Trustees declare and certify to this financial institution:

1.

to

a

LI.

We declare that I have full authority under the above referenced Trust to sign on behalf of the Trust and to
open and close accounts, perform deposits, withdraw, and transfer funds on behalf of the Trust,

We declare that I have full authority under the above referenced trust to open, enter and remove contents
and close safe deposit boxes and open or close accounts.

Without limiting the foregoing specifically, we have the authority to open accounts, perform deposits, and
withdraw funds, transfer funds, and close accounts at the aforesaid bank.

The Trustee will not direct aforesaid bank to take any action unless the Trustee has the power to act and
such powers are properly exercised.

Pursuant to the terms of the Trust, the Trustee has the power to contract for banking and other financial
services and to transfer, purchase and/or sell financial assets and investments, including securities.

Ifrequested, we will provide Bank with copies of excerpts of the original Trust instrument and
amendments designating the Trustee and/or other powers conferred on Trustee in support of a pending
transaction under this certification.

The trust has not been revoked, modified or amended in any manner which would cause the
representations contained in this certification to be incorrect.

All information contained in this certification is true and correct, and you (Aforesaid Bank), as a third
party conducting business with the Trustee may rely on this information until you receive written notice of

any changes signed by the Trustee.

The Trustees may sign for an Electronic Debit Card and/or Credit Card.

. In addition to the above powers, the Trustee has the following authorities:

a. The authority to grant power of attorney.

b. The authority to encumber trust property.

c. The authority to authorize borrowing on behalf of the trust.

d. The authority to appoint a general manager as signer on trust accounts.

We agree to defend, indemnity and hold aforesaid Bank harmless from any and all claims, demands,

liabilities, costs or expense, including. but not limited to reasonable attorney’s fees which it may suffer or
incur by any reason of its reliance upon any statement contained herein.

Page 3 of 5
Case 9:17-cv-00075-RC-KFG Document1 Filed 05/08/17 Page 36 of 42 PagelID#: 36

12. This organizational document and all Trust business will be kept private, protected by the privacy
act of 1974. Title 5 U.S.C. 552(a), the fourth and fifth Amendments of the Constitution for the
United States of America, the common law privacy rights available in the United States of
America and every other applicable jurisdiction.

We declare under penalty of perjury under the laws of the united states of America that the foregoing is true
and correct.

Executed this August 24, 2016.
Tas the executive trustee certify and verify that this document is true and correct to the best of my knowledge under
notary seal:

LAWS Vi aren

Lewis-Jay: Porter, TPEH, Executive Trustee

This document is executed under the penalty of perjury; [in nature of 28 U.S.C. § 1746(1)] expressly without
UNITED STATES, [i.e., "28 U.S.C. § 3002(15)(A); U.C.C. § 9-307(8); U.S.C.A. Const. Art. 1:8:17- 18,"]
Administered by a commissioned officer, i.e., Notary Public in accordance who is also acknowledging same [in
accordance Fed.R.Evid. 902(1)(B)].

JURAT

County of Ac\ iuWG a)
r dn ) Scilicet
/AdIOE u \O State )
sufscraseD AND SWORN TO before me this ah day of Sarcin Kor ac.20 iy.

eo

 

    

Seal

 

Notdry Public > Signature

Se

 

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My Commission Expires
ff

fr f

 

 

Page 4 of 5
Case 9:17-cv-00075-RC-KFG Document1 Filed 05/08/17 Page 37 of 42 PagelD #: 37

Tas the secretarial trustee certify and verify that this document is true and correct to the best of my knowledge under
notary seal:

 

JoAnn Johnson Baker, TTEE, Secretarial Trustee

This document is executed under the penalty of perjury; [in nature of 28 U.S.C, § 1746(1)] expressly without
UNITED STATES, [1e., "28 U.S.C. § 3002(15)(A); U.C.C. § 9-307(8); U.S.C.A. Const. Art. 1:8:17- 18,"]
Administered by a commissioned officer, i.e., Notary Public in accordance who is also acknowledging same [in
accordance Fed.R.Evid. 902(1)(B)).

 

JURAT
Countyofo )
) Scilicet
SS tate)
SUBSCRIBED AND SWORN TO before me this day of AD.20
Seal

 

Notary Public Signature

My Commission Expires _

Page 5 of 5
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MINUTES OF THE
TRUSTEE MEETING OF

LEWIS JAY PORTER TRUST
(Name of Trust)

BANKING RESOLUTION
Date: August 24, 2016

The undersigned Trustee(s) for the above named Trust RESOLVED that Lewis-Jay: Porter, being the Managing
Director(s) of this Trust, was/is herein fully authorized by the Board of Trustees to select and make application to any
bank or financial institution for the purpose of establishing one or more checking and/or savings accounts in the name
of this Trust. Further, the Managing Director(s) and/or his/her designee, or other officers or agents of this Trust as
identified below, is/are authorized to make deposits and withdrawals, write checks, and maintain such accounts
without further action of the Board of Trustees.

Further, the bank or financial institution is hereby authorized to pay out the funds of this Trust as directed by the
authorized signatories without further authorization from the Board of Trustees, whether such directives call for
disbursements in cash, to bearer or to the order of any third party.

Further, the suggested title for the account is: LEWIS JAY PORTER TRUST

Lewis \0W) * povter

Signature of Managing Director: Lewis- Jay: Porter Tax No./EIN

The following persons are authorized to sign checks or withdrawals from any accounts created with the selected
bank(s) or institution(s) with identification being required:

\DA * Qw4ec

First Authorized AgentLewis Fay: Porter Signature: Second Authorized Agent JoAnn Johnson Baker Signature:

This BANKING RESOLUTION shall remain in effect until canceled or modified by the Board of Trustees.

 

BOARD OF TRUSTEES:
Lewic- \aur. asec
For The Board of Trustees, aoe Porter Signature: Accepted By JoAnn Johnson Baker Signature
WITNESSES

fr*
We thedindérsigned Witnesses hereby STAND and Attest that the fore elbned, signed this document on the date
list i, of their own Free Will, as witnessed by Our Signatures b low: sce
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DECLARATION OF TRUST
AN IRREVOCABLE TRUST ORGANIZATION

THIS declaration of trust made this day between the undersigned parties, known hereinafter as the "Creator" and
the "Trustee” agree to wit:

1. Creator herein offers for consideration to create an organization under common law having a fixed number
of certificates which evidence a right of distribution, commonly known as an Irrevocable Trust Organization
or Unincorporated Business Organization, and

2. Trustee herein agrees to the exchange, in trade, good and valuable consideration for certificates of the
newly created organization, LEWIS JAY PORTER Trust

 

THEREFORE, the parties mutually agree, promise and covenant as follows:
CONSIDERATION:

a) Trustee herein agrees to bargain, exchange, assign, convey and deliver to this organization or its appointed
Trustee

b) Immediately upon execution of this agreement, Creator agrees to appoint a Trustee having authority to carry
out the exchange and hold and administer the consideration received.

c) This initial exchange, a description of the consideration, whether personal and/or real property, and the
number of certificates issued, shall be documented in the minutes of the organization.

d) Both parties herein contract to perform, and agree that this exchange is not a sale or a gift, but an equal-in-
value exchange.

ADMINISTERED AS TRUST ESTATE:

a) Assets of this organization shall be deemed, for administrative purposes, a trust estate and the consideration
received from Trustee shall be deemed the initial corpus.

b) Any additional property received from any future Trustee or any party shall be deemed an addition to corpus.

c) Any persons may add property of any character to the trust estate at any time by gift, grant, conveyance,
exchange, insurance proceeds, assignment, will or any other method so long as the property and method
of transfer is approved by the Trustee(s).

d) Allassets belonging to the trust estate shall be listed on Schedule "A", or an addendum to Schedule "A”, and
administered as provided herein.

IRREVOCABLE AGREEMENT:

a. The parties herein agree that this contract and declaration, including all trust provisions contained herein,
shall be irrevocable.

b. Trustee irrevocably relinquishes all rights to the property exchanged into this organization.
Neither Creator nor Trustee nor any certificate holder shall have any right to revoke or amend this contract
and declaration.

d. Amendments may only be made by unanimous approval of the Board of Trustees as provided herein.
Further, the board of Trustees shall have exclusive power to construe and determine the meaning and
intent of this contract and declaration.

APPOINTMENT OF TRUSTEE:

Upon execution of this contract and declaration, Creator shall appoint a Trustee, known hereinafter as the "first"
Trustee, to administer this organization as provided herein. The first Trustee shall provide Creator a written
acceptance of the appointment, which shall be made a part of the permanent records.

BOARD OF TRUSTEES:

a. The first Trustee, upon acceptance of the appointment, may thereafter appoint a second Trustee.

b. They in turn may jointly appoint one or more additional Trustees and may designate successors.

c. Trustees shall collectively act by authority of this contract and the trust provisions contained herein as a
Board of Trustees for the purpose of holding and administering company assets for the benefit of certificate
holders.

d. All members of the Board of Trustees shall serve without bonds.

     

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DECLARATION OF TRUST
AN IRREVOCABLE TRUST ORGANIZATION

DISCRETIONARY POWERS:
a. The parties herein agree that the Board of Trustees shall have absolute and sole discretionary power over
this organization, its assets and earnings therefrom.

b. The Board shall have authority to:
a. Determine what shail constitute principal and earnings,
b. how such assets shall be allocated, and
c. shall have absolute authority to determine if and when distributions of principal or earnings will

be made to certificate holders.

ACCEPTANCE BY TRUSTEES:
The first Trustee, and all subsequent Trustees and successor Trustees, by accepting the appointment as Trustee of
this organization causes all present and future Trustees to agree to the following:
a. They accept the initial gift or conveyance of property on behalf of the organization and acknowledge the
delivery of all property specified on Schedule "A".
b. They agree to conduct the organization's affairs in good faith, in conformity with the terms and conditions
set forth in this contract and its inherent trust provisions.
c. They agree to exercise their best judgment and discretion to conserve and improve the property of the trust
estate in accordance with decisions of the Board of Trustees as set forth in the organization's minutes.
d. They agree, upon final liquidation of the trust estate, to distribute the assets to the existing certificate
holders as their contingent rights may appear.

ADMINISTRATIVE PROVISIONS:

Trustees, and their successors, may hold administrative offices within the organization, and may singularly or
collectively exercise authority granted by the Board of Trustees in the management of company affairs. They are
herein authorized to exclusively manage, administer and control the trust estate without the consent of certificate
holders. The following specific terms and conditions apply:

a. The Board of Trustees shall be at least one (1) in number, and may be increased as deemed necessary in
the manner set forth above.

b. A Trustee may resign or be removed from the Board, with or without cause, by a resolution of the Board of
Trustees determined by a majority vote.

c. Inthe event of death, removal from the Board, or resignation of a Trustee, the vacant position shall be filled
by a successor Trustee, if pre-appointed, or the remaining Board of Trustees may appoint a successor by
unanimous vote. Should the entire Board of Trustees become vacant, the trust will make full distribution to
the beneficiaries.

d. The signing and acknowledging of this contract by any Trustee or Trustees shail constitute Trustees’
collective acceptance of this contract and its trust provisions and Trustees’ acknowledgment that this
organization's property and assets are vested in fee simple in the trust estate without any further act or
conveyance by the Board of Trustees. Trustees as discretionary fiduciaries shall hold legal and equitable
title to all assets.

e. The Board of Trustees may provide for meetings at stated intervals without notice, and special meetings
may be called at any time by one or more Trustees upon three day's written notice. At any regular or special
meeting, a majority of Trustees shall constitute a quorum for conducting business, provided affirmative
action may only be had upon a majority vote of Trustees, whether present or absent, except that in a special
meeting calied for a special purpose the majority present may affirmatively act in emergency matters. A
telephone or fax vote shall be a valid vote.

f. Any resolution of the Board of Trustees shall be deemed within the Board's power so long as the resolution
is not inconsistent with this organizational document and any amendments thereto.

g. Trustees shall be controlled by this document as amended and future resolutions of the Board of Trustees.
All meetings and resolutions shall be recorded in a company minute book.

h. Trustees shall keep proper records and accounts as the Board of Trustees deems necessary for the proper

 

DECLARATION IN CREATION OF TRUST

   

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DECLARATION OF TRUST
AN IRREVOCABLE TRUST ORGANIZATION

management of the trust estate.

i. Trustees shall not be required to individually assume liability for loss of company assets while acting in good
faith on behalf of the organization, or for any act or omission of any other Trustees, agents or employees.
They shail, however, be liable for their own breach of good faith. If a Trustee shall for any reason suffer a
personal loss while providing good faith service to the trust, the Trustee shall be reimbursed for such loss
from the trust estate further reimbursement may be documented in agreement with the trust.

j. The Board of Trustees, at the expiration of the term as set forth herein, shall wind up company affairs and
terminate the company operations, making final distribution as provided. If the organization was recorded
publicly, Trustees shall file with the Recorder a notice of termination; and Trustees, thereupon, shall
automatically be discharged, provided final administration and distribution was made in accordance with
the terms and conditions of this agreement. Otherwise, a court of equity may be invoked to review and
correct any tort or error, if only necessary.

k. When there are no longer trustees and beneficiaries the Manager will have the right to dissolve the trust
by following the procedures in “J”.

|. Any Affidavits for Public Notice, Declarations, and Honorable Clarifications, not limited to any Corporeal
and/or Incorporeal Hereditaments concerning any conveyance included in the Security Agreement, and/or
Authenticated foreign document(s) is under the Hague Convention, 5 October, 1961.

TRUSTEE POWERS:

Trustees shall have general common law powers over the company and the trust estate herein, and may do anything
any citizen may lawfully do in any state or country. Specifically, but not by way of limitation, they shall have all rights,
authority and power as follows:

a. To compromise or abandon any claims arising out of, in favor of, or against the company and its trust estate,
and Trustees’ good faith decision in that regard shall be binding and conclusive on all parties.

b. To manage, invest and reinvest the trust estate, or any part thereof, in any kind of property or venture
which men of prudence, discretion and intelligence consider for their own account, without being restricted
to investments which are ordinarily permitted by law or customarily used for trust funds, and without
restrictions as to the duration of this organization. Specifically included, but not by way of limitation, are
real estate, collectables, gems, art works, precious metals, corporate obligations of every kind, preferred
and common stock, commodities, mutual funds and trust funds.

c. To open, maintain and close bank and thrift accounts of every kind, and conduct all monetary affairs of this
trust.

d. To sell at public or private sale for cash, credit, or cash and credit, and upon such terms and conditions as
Trustees may deem proper.

e. Tosell, grant, convey, mortgage, option, rent, lease or pledge all trust estate assets, real, personal or mixed,
in such manner as deemed appropriate and nondestructive to the general welfare of the trust.

f. To borrow on or encumber the trust estate without restriction and to make loans with or without security.
All borrowed funds shall immediately become a part of the trust estate.

g. Toallocate capital gains and/or dividends to trust principal as may be deemed appropriate or advantageous
to the trust estate.

h. To register company property in the name of the company, a fictitious trade name of the company, a
Trustee or nominee so long as company ownership of such property can be clearly demonstrated.

i. To make distributions in cash or in kind and to assign values to such property according to Trustees’ best
judgment.

j. To accept additions to the trust estate by deed, will, assignment, exchange, gift, grant, insurance proceeds
or any other methods deemed acceptable to Trustees. Trustees are further authorized to honor any buy-
sell agreements extant as to any property or interest held in trust.

k. To elect and remunerate officers from the Board or elsewhere as deemed appropriate or expedient. To hire
and remunerate employees, agents or contractors. To incur and pay the ordinary and necessary expenses
of administration, including, but not limited to, legal fees, accountant's fees, Trustee fees, brokerage fees,
consulting fees and the like, and to allocate all the expenses and receipts between principal and income as

   

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DECLARATION OF TRUST
AN IRREVOCABLE TRUST ORGANIZATION

Trustees shall deem proper.

|. To give proxies, to deposit securities with and transfer title to committees representing securities holders
and to participate in voting trusts, reorganizations and other transactions involving the common interest of
security holders.

m. To open margin accounts with securities firms and commodities traders and to buy, write or trade in
options, commodities, and to make short sales. Trustees shall be empowered to hold securities in their own
names, the name of a nominee, in street name, or unregistered in such condition that ownership will pass.
Trustees shall incur no liability to the company for any loss. The Trust shall indemnify the trustee from all
liability. Further, any securities firm or commodities traders may rely on this document and the trust
provisions herein in respect of a Trustee's authority without making further inquiry.

n. Trustees are expressly authorized to hold, manage and operate any company property, or business or
enterprise. The profits and losses, if any therefrom, shall be chargeable respectively to the trust estate.

0. Trustees are authorized to pay all taxes out of the trust estate, and have complete discretion, power and
authority to make any decisions or elections that would effectively minimize such taxes if any taxes are
eligible to be ievied.

p. Trustees may expressly delegate one or more of their powers to any other person or persons as may be
deemed expedient for the management of company affairs, and may revoke such delegation at any time
by written notice delivered to such persons.

q. Trustees, by a majority vote, may change the domicile of the company with or without cause if they deem
such change will protect or benefit the trust estate.

r. Trustees, by unanimous vote, may make amendments to this contract and declaration and take such other
consequential actions as they deem necessary or appropriate to protect the integrity of the organization
and to insure the organization will continue to function and be administered in the best interest of
certificate holders and in the manner intended.

5. Trustees, by majority vote, may at any time and at their sole discretion wind up company affairs, terminate
this organization and make distributions of the trust estate to certificate holders as provided herein.

RIGHT TO DISTRIBUTION:

Trustees have discretionary powers to make distributions from this organization without regard to equality of
certificate holders except for final liquidation. Notwithstanding, a right to any distribution from this organization
shall be evidenced by the holding of one or more certificates, and the following provisions respecting such
certificates shall remain in full force and be carefully observed by Trustees, certificate holders, and interested third
parties at all times:

a. Trustees shall be authorized to issue one hundred (100) certificate units (hereinafter called TCUs or
certificates), representing 100% of the rights to distribution from the organization's trust estate. Trustees
shall not issue TCUs in excess of that number. The TCUs shall have no par value, and Trustees shall not place
any nominal value on TCUs at any time. TCUs are non-assessable, nontaxable, nonnegotiable and limited in
transferability. The lawful possessor shall be construed the true and lawful owner thereof. Creator herein
may own TCUs. No person having or controlling a majority vote on the Board of Trustees, however, shall
have or possess any rights to distribution from the trust estate.

b. Trustees are authorized to receive property into the trust estate in exchange for a negotiated number of
TCUs. The party exchanging the property shall be deemed to be an Trustee. All owners of TCUs shall be
identified on a Registry of Trust Certificate Units, kept in the company minute book. Ownership of TCUs
shall not entitle the holder to any legal or equitable title in the company or the trust estate, nor to any
undivided interest therein, nor management thereof.

c. TCUs shall be immune from seizure by any creditor of the lawful owner.

d. Death, insolvency or bankruptcy of any TCU holder, or the transfer of his TCUs by gift, exchange or sale,
shall not operate as dissolution of this organization or its operation or business; nor shall such events entitle
his creditors, heirs or legal representatives to demand any partition or division of the trust estate or any
special accounting. Death of a TCU holder shall terminate his or her rights under the TCU and said rights
may not thereafter pass by probate or operation of law to any heir or legatee, but shall revert to the Board

 

 

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